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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


RUBIK’S BRAND LIMITED,                             Civil Action No. 1:17-cv-6559 (PGG)

                    Plaintiff,

            -against-

FLAMBEAU, INC.

                    Defendant.



        PLAINTIFF’S APPENDIX TO COUNTERSTATEMENT OF MATERIAL FACTS
                 TO DEFENDANT FLAMBEAU, INC.’S RULE 56.1
                      STATEMENT OF MATERIAL FACTS


EXHIBIT                         DESCRIPTION                            BATES RANGE
  75        Declaration of David Kremer
  76        Declaration of Holly Riehl
  77        Declaration of Darren W. Saunders
  78        RUBIK’S brand presentation regarding the history of the   RBL_002974-
            RUBIK’S CUBE, dated 2010                                  RBL_003316
   79       Ideal Toy Corp v Chinese Arts And Crafts Inc, 530
            F.Supp. 375 (1981).
   80       Ideal Toy Corp. v. Plawner Toy Mfg. Corp., No. 81-
            1431, 1981 WL 48162 (D.N.J. Oct. 20, 1981), aff'd as
            modified, 685 F.2d 78 (3d Cir. 1982).
   81       Ideal Toy Corp. v. Plawner Toy Mfg. Corp., 685 F.2d 78
            (3d Cir. 1982).
   82       CBS Inc. v. Logical Games, Inc., No. CIV.A. 82-0473-A,
            1982 WL 52131 (E.D. Va. Dec. 28, 1982), aff'd sub
            nom. CBS, Inc. v. Logical Games, 719 F.2d 1237 (4th
            Cir. 1983).
   83       CBS, Inc. v. Logical Games, 719 F.2d 1237 (4th Cir.
            1983).
   84       Photographs of 3x3 twisty puzzles with a white grid
            seized by U.S. Customs and Border Protection
   85       Article, “After More Than 40 Years, Rubik’s Continues     RBL_003554-
            to Puzzle America” and RUBIK’S Brand advertisement,       RBL_003557
            February 2015 issue of The Toy Book magazine


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EXHIBIT                    DESCRIPTION                            BATES RANGE
  86    Photographs of the RUBIK’S CUBE Light                    RBL_002739-
                                                                 RBL_002742
  87      RBL Newsletter to Licensees, dated 2014                RBL_008692-
                                                                 RBL_008677
  88      Article, “Rubik’s and PUMA Celebrate the World’s
          Best-Selling Toy,” SNEAKERS MAGAZINE, dated Oct.
          1, 2019
  89      RBL Newsletter to Licensees, dated 2013                RBL_008676-
                                                                 RBL_008677
  90      RBL Newsletter to Licensees, July 2016                 RBL_008415-
                                                                 RBL_008428
  91      RBL Newsletter to Licensees, April 2016                RBL_008406-
                                                                 RBL_008414
  92      Presentation re RUBIK’S Brand, dated 2011              RBL_003317-
                                                                 RBL_003347
  93      Rubik’s Usage Agreements for 2015                      RBL_006454
  94      Rubik’s Usage Agreements for 2016                      RBL_006455
  95      Rubik’s Usage Agreements for 2017                      RBL_006456
  96      RBL Newsletter to Licensees, dated 2013                RBL_008674-
                                                                 RBL_008675
  97      Poster re Snowden film premiere                        RBL_002714
  98      RBL Newsletter to Licensees, dated 2016                RBL_000215-
                                                                 RBL_000229
  99      Tiger Beat Celebrity Spectacular Magazine re Justin    RBL_009006-
          Bieber                                                 RBL_009007
  100     RUBIK’S brand Product Book for 2017                    RBL_000237-
                                                                 RBL_000312
  101     RBL Newsletter to Licensees, dated 2014                RBL_008690-
                                                                 RBL_008691
  102     Photograph of actress Zsa Zsa Gabore                   RBL_008462
  103     Photographs of YCDTRC New England Tournament at        RBL_004324,
          the Museum of Science in Boston, dated 2011 (Patriot   RBL_004452,
          Ty Law)                                                RBL_004541,
                                                                 RBL_004617
  104     Photographs of YCDTRC competition at the Las Vegas     RBL_004142,
          Science Festival, dated 2011 (Carrot Top)              RBL_004143,
                                                                 RBL_004150,
                                                                 RBL_004172,
                                                                 RBL_004173
  105     Press release re the YCDTRC competition at the Las     RBL_004237-
          Vegas Science Festival, dated May 6, 2011              RBL_004238
  106     New York Times Article, “Learning Math From the        RBL_003618
          Rubik’s Cube,” dated Nov. 19, 2009



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EXHIBIT                      DESCRIPTION                           BATES RANGE
  107   Article, “Artist Creates Gigantic Pop Culture Portraits
        From Thousands of Rubik’s Cubes,” MY MODERN MET,
        dated Jan. 27, 2020
  108   Letter from the Museum of Modern Art, dated May 29,       RBL_000338
        1981
  109   National Toy Hall of Fame webpage re RUBIK’S CUBE
  110   RBL Newsletter to Licensees, dated 2014                   RBL_008678-
                                                                  RBL_008686
   111     Presentation re Summary Review of the Rubiks.com       RBL_009160-
           Website and RBL’s Social Media, dated 2014             RBL_009164
   112     Article, “All-TIME 100 Greatest Toys,” TIME
           MAGAZINE, dated Feb. 16, 2011
   113     Article, “The 13 Most Influential Toys of All Time,”
           TIME MAGAZINE, Dated Oct. 29, 2014
   114     Article, “The 60 greatest kids' toys ever invented,”
           INSIDER, dated Aug. 25, 2017
   115     Promotional materials for the “Beyond Rubik’s Cube”    RBL_002759
           Exhibition, dated 2015
   116     Promotional materials for the “Beyond Rubik’s Cube”
                                                             RBL_002760-
           Exhibition, dated 2015                            RBL_002762
   117     Promotional materials for the “Beyond Rubik’s Cube”
                                                             RBL_008589-
           Exhibition, dated 2013                            RBL_008625
   118     Photographs from the “Beyond Rubik’s Cube”        RBL_004265,
           Exhibition                                        RBL_004274,
                                                             RBL_004275,
                                                             RBL_004277
   119     RUBIK’S Brand Summary Deck                        RBL_009008-
                                                             RBL_009027
   120     Report of RBL’s Social Media, dated March 2018    RBL_000324-
                                                             RBL_000337
   121     RUBIK’S Brand Consumer Demographic/Psychographic RBL_007440-
           Survey, dated November 2014                       RBL_007445
   122     Photographs of RUBIK’S Brand Promotions           RBL_003620-
                                                             RBL_003622
   123     Flyer for the YCDTRC Lending Program              RBL_003678
   124     Photographs of YCDTRC Kits                        RBL_002725-
                                                             RBL_002727
   125     YCDTRC Mosaic template                            RBL_002883-
                                                             RBL_002966
   126     Photograph of Large Scale Mosaic created from 3x3 RBL_002968
           RUBIK’S CUBES
   127     Photographs of YCDTRC at Coe College in Cedar     RBL_003819-
           Rapids, Iowa                                      RBL_003820
   128     Photographs of YCDTRC at MCA of Greater Boston    RBL_003856,
                                                             RBL_003862
                                           3
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EXHIBIT                   DESCRIPTION                                BATES RANGE
  129   YCDTRC Program Income and Expenditures, 2008-               RBL_007430
        2012
  130   RBL Marketing Fee Invoice to Hasbro, dated April 2017       RBL_008948
  131   RBL Marketing Fee Invoice to Hasbro, dated July 2017        RBL_008949
  132   RBL Marketing Fee Invoice to Hasbro, dated June 2016        RBL_008955
  133   Photograph of Hasbro RUBIK’S CUBE themed game               RBL_004103
        show
  134   YCDTRC Program update, dated October 2016                   RBL_007949-
                                                                    RBL_004968
   135     Web traffic and SEO analysis for the YCDTRC website,     RBL_006752-
           dated 2010                                               RBL_006809
   136     Media Tracker for the YCDTRC Program, dated 2011         RBL_006717
   137     YCDTRC Program Competition Rules                         RBL_009094-
                                                                    RBL_009105
   138     Photographs of YCDTRC Program Promotional Booths         RBL_00386,
                                                                    RBL_003724,
                                                                    RBL_003738
   139     Proposal to Host YCDTRC Program Competition              RBL_006263-
                                                                    RBL_0062564
   140     Website Visitor Analysis for 2016 vs. 2017, dated Feb.   RBL_007459-
           13, 2018                                                 RBL_007465
   141     RBL Newsletter to Licensees, dated 2014                  RBL_008687-
                                                                    RBL_008688
   142     Summary of Sales for the 3x3 RUBIK’S CUBE, 2013-         RBL_006453
           2017
   143     Summary of Media Coverage of the 2017 World              RBL_006451-
           Championship                                             RBL_006453
   144     Press releases re 2017 World Championship                RBL_006425-
                                                                    RBL_006427
   145     Press releases re 2017 World Championship                RBL_006422-
                                                                    RBL_006424
   146     Photograph from 2017 World Championship                  RBL_006308
   147     Summary of Media Coverage of the 2013 RUBIK’S            RBL_005900-
           CUBE World Championship                                  RBL_005930
   148     Photographs from the 2013 World Championship             RBL_005601,
                                                                    RBL_005615,
                                                                    RBL_005623,
                                                                    RBL_005628
   149     RUBIK’S CUBE Coverage Report, dated 2015                 RBL_008077
   150     Red Bull RUBIK’S CUBE Word Championship                  RBL_006076-
           Guidelines                                               RBL_006088
   151     Photograph of store check                                RBL_009116
   152     Photograph of store check of Toys “R” Us, dated Sept.    RBL_006110
           2017
   153     Photograph of store check of Toys “R” Us                 RBL_009120
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EXHIBIT                     DESCRIPTION                               BATES RANGE
  154   RBL Website re 3x3 RUBIK’S CUBE, last visited Aug.
        5, 2020
  155   Hasbro Website re 3x3 RUBIK’S CUBE, last visited
        Aug. 5, 2020
  156   Winning Moves Website re 3x3 RUBIK’S CUBE, last
        visited Aug. 5, 2020
  157   Duncan Website re Quick Cube, last visited Aug. 5,
        2020
  158   Summary of RBL’s target demographic, dated 2015              RBL_006830-
                                                                     RBL_006838
   159    Summaries of RBL’s target demographic                      RBL_009173-
                                                                     RBL_009188
   160    RBL Presentation to Hasbro                                 RBL_006810-
                                                                     RBL_006814
   161    Flambeau Project Summary re Duncan Quick Cube,             FLAMBEAU001091-
          dated June 15, 2015                                        FLAMBEAU001093
   162    Deposition Transcript Excerpts of Michael Burke, Aug.
          16, 2018
   163    3x3 RUBIK’S CUBE                                           FLAMBEAU001447
   164    Deposition Transcript Excerpts of Lee Loetz, Dec. 18,
          2018
   165    Flambeau Quick Cube Presentation                           FLAMBEAU000893-
                                                                     FLAMBEAU000895
   166    WCA Website re “About the WCA”                             FLAMBEAU002505-
                                                                     FLAMBEAU002506
   167    Deposition Transcript Excerpts of Richard Gottlieb, Jan.
          18, 2019
   168    Quick Cube Quality Inspection Report, dated July 27,       FLAMBEAU000918-
          2015                                                       FLAMBEAU000927
   169    Duncan Quick Cube Customer Email, January 2018             FLAMBEAU001489-
                                                                     FLAMBEAU001491
   170    SGS Test Report, dated March 15, 2016                      FLAMBEAU002729-
                                                                     FLAMBEAU002736
   171    Expert Report of William F. Kitzes, dated Jan. 23, 2019
   172    Supplemental Deposition Transcript Excerpts of Michael
          Burke, Nov. 29, 2018
   173    Deposition Transcript Excerpts of Bennett Berson, Aug.
          15, 2018
   174    Yongjun Toy Catalog                                     FLAMBEAU000714-
                                                                  FLAMBEAU000730
   175    Casino Cube puzzle
   176    Emoji Cube puzzle
   177    Dice Cube puzzle
   178    Numbers Cube puzzle
   179    Squares and Circles Cube puzzle                         FLAMBEAU001458
                                           5
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EXHIBIT                    DESCRIPTION                                     BATES RANGE
  180   Colored Circles Cube puzzle
  181   Rebuttal Expert Report of Richard Gottlieb, dated Jan. 7,
        2019
  182   Sponge Bob Cube puzzle                                         FLAMBEAU000512
  183   Disney Cube puzzle                                             FLAMBEAU000886
  184   Mirror Cube puzzle                                             FLAMBEAU0001455
  185   DianSheng Case Cube                                            FLAMBEAU000491-
                                                                       FLAMBEAU000493
   186      Redi Cube puzzle, Amazon                                   FLAMBEAU000433-
                                                                       FLAMBEAU000440
   187      Redi Cube puzzle                                           FLAMBEAU001461
   188      Deposition Transcript Excerpts of Dana Roberts,
            Aug.14, 2018
   189      Quick Cube Packaging Design Request Form, dated            FLAMBEAU002606
            June 8, 2015
   190      3x3 RUBIK’S Speed Cube Webpage                             FLAMBEAU002577-
                                                                       FLAMBEAU002585
   191      Rubik's Mirror Block
   192      Ruwix Website re “Speedcubing”
   193      Article, Ian Scheffler, “Cracking The Cube, Going Slow     FLAMBEAU002117-
            To Go Fast and Other Unexpected Turns In The World         FLAMBEAU002400
            Of Competitive Rubik’s Cube Solving”
   194      Deposition Transcript Excerpts of Jessie Roberts, dated
            Dec. 12, 2018
   195      Expert Rebuttal Report of Rebuttal Expert Report of
            Rany L. Simms, dated Jan., 7, 2019

                                                 Respectfully submitted,

Dated: New York, New York                        /s/ Darren W. Saunders______
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                                                 Attorneys for Plaintiff
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                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the foregoing document

was served on August 5, 2020, by electronic mail on counsel of record for Defendant, pursuant

to Fed. R. Civ. P. 5(b)(2)(E) and Judge Gardephe’s Rule IV.C:



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                                            By:    _/s/Cassandra M. Tam__________
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